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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater * MDL NO. 2179
Horizon” in the Gulf of Mexico, on April *
20, 2010 * SECTION J
*
This document relates to all actions. *
* HONORABLE CARL J.
* BARBIER
*
* MAGISTRATE JUDGE
* SHUSHAN
Bon Secour Fisheries, Inc., ef al., individually * Civil Action No. 12-970
and on behalf of themselves and all others *
similarly situated, * SECTION J
*
Plaintiffs, *
* HONORABLE CARL J.
Vv. * BARBIER
*
BP Exploration & Production Inc; BP * MAGISTRATE JUDGE
America Production Company; BP p.lL.c., * SHUSHAN
*

Defendants.

DECLARATION OF ANDREW T. KARRON IN SUPPORT OF
BP’S MOTION FOR PRELIMINARY INJUNCTION

Andrew T. Karron deposes and states, pursuant to 28 U.S.C. § 1746:

1. I am a partner in the law firm of Amold & Porter LLP, resident in the firm’s
Washington, D.C. office. I am counsel for BP Exploration & Production Inc., BP America

Production Company, and BP p.l.c. in Bon Secour Fisheries, Inc. v. BP Exploration &

Production Inc., et al., Civil Action No. 12-970 (E.D. La.), consolidated in MDL 2179.

personally and directly participated in negotiating the Business Economic Loss Framework

provisions of the Economic and Property Damages Settlement Agreement, as amended (the
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“Settlement Agreement”), which received final approval from the Hon. Carl J. Barbier of the
United States District Court for the Eastern District of Louisiana (the “District Court”) on
December 21, 2012 (Rec. Doc.8138, 8139).

2. I personally and directly participated in briefing involving the Claims
Administrator of the Court-Supervised Settlement Program (the “Settlement Program”) created
under the Settlement Agreement and, thereafter, participated in proceedings before the District
Court with Class Counsel and the Claims Administrator regarding the Settlement Program’s
implementation of the Settlement Agreement’s Business Economic Loss Framework set forth in
Settlement Agreement Exhibits 4A-4E. The proceedings were conducted pursuant to the
Settlement Agreement’s provisions as the parties understand them. I have personal knowledge
of the facts set forth herein.

3. Attached hereto are what I believe to be true and correct copies of the following
documents. The documents have been redacted to redact claimant identifying information -- that
is, the name of the claimant, precise address, and claim number have been redacted. The number
next to each document corresponds to the attachment tab:

1. Declaration of J. Lester Alexander, III.
2. Declaration of Professor J. Richard Dietrich.

Declaration of Charles E. Finch.

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4. Supplemental Declaration of Charles E. Finch.
5. Declaration of Henry H. Fishkind.

6. Declaration of David A. Hall.

7. Supplemental Declaration of David A. Hall.

8. Declaration of James L. Henley, Jr.

9. Declaration of Keith Moskowitz.
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10. Declaration of Xavier Oustalniol.

11. Supplemental Declaration of Xavier Oustalniol.

12. Declaration of Professor A. Mitchell Polinsky.

13. Declaration of Jeffrey O. Rose.

14. Declaration of Hal Sider.

15. Supplemental Declaration of Hal Sider.

16. Declaration of Roman L. Weil.

17. 12-16-12 Class Counsel Memo.

18. 1-15-13 P. Juneau Cover E-mail re BEL Policy Decisions.
19. 1-15-13 BEL Policy Decisions.

20. 10-8-12 Revisions or Clarifications to Policy Decisions.
21. 8-2-12 Final Recommendation on Policy Issues.

22. 4-9-12 Undertaking of Patrick Juneau in Furtherance of Court Order Appointing Him
Claims Administrator.

23. 6-12 Supplemental and Amended Contract regarding Claims Administrator.

24. Advertisements Soliciting Claims.

25. 2-17-13 E-mail from R. Godfrey to J. Rice and C. Fayard re Benchmark Period.
26. 9-28-12 Letter from M. Holstein to P. Juneau re Policy Decisions.

27. Letter from Claimant’s Counsel to P. Juneau.

28. 10-11-12 and 10-16-12 Settlement Program Global Notes Screen Entries.

29. 10-17-12 Letter from Claimant’s Counsel to Settlement Program Accountant.
30. Declaration of James A. Richardson.

31. Declaration of Holly Sharp.

32. Declaration of Andrew T. Karron In Response To The Declaration of John E.
Tomlinson.

33. Deepwater Horizon Economic and Property Settlement Trust.
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Economic Settlement Trust Agreement.

Amendment to the Paying Agent Agreement.

Settlement Program Business Economic Loss Claim Form.

Settlement Program Business Economic Loss Claim Form Instructions.

October 22, 2012 Settlement Program Policy Announcement: Reminder Regarding
Documentation Requirements for Business Economic Loss Claims.

Class Counsel February 7, 2013 Wetlands Submissions.

January 30, 2013 e-mail from Judge Barbier: “Review of Issue from Panel (Matching
of Revenue and Expenses)”.

February 6, 2013 email from Judge Barbier vacating January 30, 2013 decision.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this/. IS th day of March, 2013 in Whshineh Oz.

— bahovs J. Fue

Andrew T. Karron

